 Case 5:11-cv-13996-JCO-MAR ECF No. 6 filed 01/12/12                 PageID.17      Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                    Southern Division


EFREM WALKER, Individually,              :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :            Case No. 11-cv-13996
                                         :
GENESEE VALLEY PARTNERS, L.P..           :
A Foreign Limited Partnership            :
                                         :
             Defendant.                  :
_______________________________________/ :



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                           STIPULATED ORDER OF DISMISSAL


   The parties, through their respective counsel, having stipulated to a Dismissal of this matter,

and the Court being otherwise fully advised in the premises;
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   IT IS HEREBY ORDERED that this matter is dismissed with prejudice, without costs or

attorneys fees to either party.


Date: January 12, 2012                                      s/John Corbett O’Meara

                                                            United States District Judge




         Plaintiff Efrem Walker and Defendant Genesee Valley Partners, LP., pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to the voluntary dismissal with prejudice of the

above-captioned matter without costs or attorneys fees to either party.

         Respectfully submitted this 12th day of January 2012.

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